Case 2:19-cv-00474-JLB-NPM Document 56 Filed 06/10/20 Page 1 of 2 PageID 1205



                               UNITED STATES DISTRICT COURT
                                MIDDLE DISTRICT OF FLORIDA
                                    FORT MYERS DIVISION

ELBA NIEVES,

                  Plaintiff,

v.                                                          Case No.: 2:19-cv-474-FtM-38NPM

WALMART STORES, INC.,

                Defendant.
                                                 /

                                                ORDER1

        Before the Court is a Stipulation to Correct Caption and Identify True Name of

Defendant (Doc. 55) filed on June 9, 2020. The parties have agreed to allow Plaintiff to

correct the improperly named Defendant Wal-Mart Stores, Inc. to Walmart Stores East,

LP. Because the proper (but currently misnamed) party was originally served and has

participated in this case, the Court will allow the technical correction.

        Accordingly, it is now

        ORDERED:

        (1)     The Stipulation to Correct Caption and Identify True Name of Defendant

(Doc. 55) is GRANTED.

        (2)     The Clerk shall correct the case heading on the docket sheet to terminate

Walmart Stores, Inc. and correct the name by adding Walmart Stores East, LP to the

docket with the same counsel.




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Case 2:19-cv-00474-JLB-NPM Document 56 Filed 06/10/20 Page 2 of 2 PageID 1206



      DONE and ORDERED in Fort Myers, Florida this 10th day of June, 2020.




Copies: All Parties of Record




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